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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

ALOFT MEDIA, LLC,                                §
                                                 §
Plaintiff,                                       §
                                                 §
v.                                               §
                                                 §              Civil Action No. 6:08-cv-440
GOOGLE, INC.,                                    §
                                                 §
Defendant.                                       §


                                      FINAL JUDGMENT

       Pursuant to the Order dismissing the claims of all parties signed September 9, 2009, the

Court hereby enters Final Judgment.

       It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing and

that all pending motions are DENIED AS MOOT. All costs are to be borne by the party that

incurred them.

        It is further ORDERED, ADJUDGED and DECREED that all claims, counterclaims, and
                    .
third-party claims in the instant suit be DISMISSED in their entirety, with prejudice.

       The Clerk of the Court is directed to close this case.



                 So ORDERED and SIGNED this 9th day of September, 2009.




                                                ___________________________________
                                                           JOHN D. LOVE
                                                UNITED STATES MAGISTRATE JUDGE
